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AO 442 (Rev. 11/11) Arrest Warrant                                                                              AUSA Windom 2019R00227


                                        UNITED STATES DIST/LUX
                                                                                     LOGGED
                                                                  for the
                                                            District of Maryland     APR -82019
                                                                                         AT GREENBELT
                  United States of America                                         CLERK, U.S. DISTRICT COURT
                                                                                     DISTRICT OF MARYLAND
                             V.                                     )	BY
                                                                    )	 Case No.                 - It 5 I DCPurt
                                                                                                            s
                                                                    )
                                                                    )
                         Ronde!! Henry                              )
                                                                    )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Rondell Henry
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment             0 Superseding Indictment          0 Information        0 Superseding Information W Complaint
0 Probation Violation Petition              0 Supervised Release Violation Petition          0 Violation Notice 0 Order of the Court

This offense is briefly described as follows:
  18 U.S.C. §§ 2312- Transportation of Stolen Vehicles

  See the attached Affidavit of Special Agent Michael J. Fowler dated April 3,2019.




Date:
                                                                                              Issuing officer's signature

                                  Greenbelt, MD                              Charles B. Day, U.S. Magistrate Judge
City and state:
                                                                                                Printed name and title


                                                                 Return

          This warrant was received on (date)        4/a/19             , and the person was arrested on (date)          LI AIN
at (city and state) C,ketni, eltb


Date: Liiitq
                                                                                             Arresting officers signature


                                                                             Michael Fovi-er SpecI f+jet-
                                                                                                Printed name and title
